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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 MARIA GALVEZ,                                 §
                                               §
      Plaintiff,                               §
                                               §
 v.                                            §               CIVIL ACTION 4:18-cv-04221
                                               §
 CITY OF KATY, CHARLES A.                      §
 “CHUCK” BRAWNER, and RUSSELL                  §
 WILSON                                        §

      Defendants.


                     PLAINTIFF’S SECOND AMENDED COMPLAINT


TO THE HONORABLE DISTRICT COURT JUDGE:

         NOW COMES Plaintiff, Maria Galvez, and files this, her Second Amended Complaint and

respectfully shows the following:

                                            I.
                                         SUMMARY

         Plaintiff, Maria Galvez, was employed by the City of Katy as the Emergency Management

Coordinator. Defendants acted to terminate her employment and did so by maliciously using the

most deplorable means to do so. While having placed Ms. Galvez on paid administrative leave,

with no action for nearly two months related to the allegations used as the basis for placing Ms.

Galvez on leave, Defendants intruded on her seclusion, violated her Fourth Amendment rights to

be free from unreasonable search and seizure, and violated the Stored Communications Act by

accessing and reading her personal, Facebook messenger messages. It was not until Defendants

were armed with details regarding matters related to her private life, personal communications

with family and friends, did Defendants take action. First, Defendants issued Ms. Galvez another

write-up. Then, Defendants terminated Ms. Galvez’s employment. Finally, when Ms. Galvez
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exercised her right to appeal the termination, the majority of the messages selected by Defendants

for submission to the City Council during the “hearing” had nothing to do with Ms. Galvez’s

employment or the decision the Council was tasked with making; there was clear motive behind

Defendants’ deliberate selection of messages that where extremely personal in nature. Defendants

actions were done with malice and were calculated to severely offended, humiliate, and cause

outrage.

                                          II.
                               DISCOVERY CONTROL PLAN

1.     Plaintiff intends that this suit be governed by discovery control level two.

2.     Plaintiff affirmatively pleads that this suit is not governed by the expedited actions process

       in Texas Rule of Civil Procedure 169 because Plaintiff seeks relief in excess of $100,000.

3.     Specifically, Plaintiff seeks monetary relief over $200,000 but not more than $1,000,000.


                                              III.
                                            PARTIES

4.     Plaintiff Maria Galvez is an individual who resides in Waller County, Texas.

5.     Defendant City of Katy is a municipality in Harris County, Texas. City of Katy may be

served with service of process by serving its mayor, Charles A. “Chuck” Brawner at 901 Avenue

C, Katy, Texas 77493.

6.     Defendant Charles A. “Chuck” Brawner is an individual who resides in Waller County,

Texas. Brawner may be served with service of process at 901 Avenue C, Katy, Texas 77493 or

1122 Fern Ln., Katy, Texas 77493, or wherever he may be found.

7.     Defendant Russell Wilson is an individual who resides in Waller County, Texas. Wilson

may be served with service of process at 1417 Avenue D, Katy, Texas 77493, or 6703 Patricia Ln.,

Katy, Texas 77493, or wherever he may be found.



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                                            IV.
                                  JURISDICTION AND VENUE

8.      Jurisdiction is proper because the amount in controversy exceeds the minimum

jurisdictional limits of this Court.

9.      Venue is proper in Harris County, Texas, pursuant to Section 15.002(a)-(b) of the Texas

Civil Practice and Remedies Code because a substantial part of the events or omissions giving rise

to the claim occurred in Harris County.

                                               V.
                                             FACTS

10.     Ms. Galvez is a lifelong resident of Katy.

11.     Ms. Galvez began working for the City of Katy as a volunteer with the Ladies Auxiliary in

2002 before becoming a part-time EMT in 2004.

12.     Over the years, she held full-time employment with Katy, with promotions to the following

positions: paramedic, Hazard Mitigation Coordinator and Compliance Officer, and Captain of

Compliance and Assistant Emergency Manager.

13.     In 2013, under the restructuring plan of Interim Fire Chief Rufus Summers, Ms. Galvez

was instructed to devote her services solely to the position of Assistant Emergency Manager before

being promoted to Emergency Management Coordinator in 2014.

14.     Ms. Galvez has always given her best efforts to the City of Katy.

15.     Unfortunately, following the hiring of Fire Chief Russell Wilson in or around May 2016,

Ms. Galvez was subjected to a hostile work environment.

16.     On or about September 11, 2017, Ms. Galvez filed a complaint with the City of Katy’s

human resources department against Chief Wilson.

17.     Following Ms. Galvez’s complaint, on or about January 23, 2018, Mayor Charles “Chuck”

Brawner, placed Ms. Galvez on an unjustified paid administrative leave.

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                                                                     January 22, 20 18

18.    Mayor Brawner was falsely alleging that Ms. Galvez had committed timesheet fraud during
                            Maria Galvez
Hurricane Harvey.           Emergency Management Coordinator

19.    At the time of her suspension,
                          Re: Notice ofMs. Galvez
                                       Complaint andwas informedLeave
                                                    Administrative that the investigation regarding

the matters related to this Dear
                            disciplinary
                                 Maria:  action would be conducted by a third-party, an “outside

agency.”                    In accordance with Article III, Section 6b.2., of the City of Katy Home Rule Charter, this letter is
                            to notify you that effective this date, January 23, 2018, you are suspended from duty and placed
                            on Administrative Leave with pay until further notice. During the period of suspension you are
                            prohibited from entering all non-public property of the City of Katy and are instructed not to
                            contact by any means, directly or indirectly, any employee of the City of Katy regarding this
                            matter. You are required to immediately turn in all City of Katy keys, pass cards, radios, cell
                            phone, assigned vehicle and any and all other property that belongs to the City. Failure to
                            comply with these instructions may in itself constitute misconduct, which may result in
                            disciplinary action against you, including tem1ination.

                            This complaint and administrative leave are based on evidence exposed in the course of the
                            recent investigation of the Katy Fire Department by an outside investigator. The evidence
                            indicates that you falsified City of Katy payroll records and/or received compensation for work
                            that you did not perform for the City of Katy. You are hereby placed on notice that this
                            complaint against you will be investigated by an outside agency. Upon completion of the
                            investigation, a determination will be made as to the status of your employment with the City.

                            You are required to remain available during your suspension so that I am able to contact you if
                            the need arises. You may contact my office during normal business hours to arrange a meeting

20.
                           awith me to discuss any questions you may have.
       However, this was all a farce. The City of Katy never intended an investigation by an
                                      yours,
       outside agency and they knew there was not a legitimate basis for her termination based on
                            Chuck ~                   / r
       the false allegations.Mayor

21.    In fact, a subsequent request for disclosure of public records indicates that no payment was
                            I, M ~~                   eived and understand the ; ~o; ; :c~
       ever made to an independent third-party to conduct such an investigation.
                            MA~~



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22.    Defendants’ failure to investigate the initial matter for which they allegedly placed Ms.

Galvez on suspension is further corroborated by the fact that Ms. Galvez was never contacted by

an investigator for questioning.

23.    It was not until March 14, 2018, that Ms. Galvez was finally contacted by Mayor Brawner.

24.    However, Mayor Brawner only contacted Ms. Galvez to informed her of new allegations

being made against her.

25.    These new allegations were made after Fire Chief Russell Wilson invaded Ms. Galvez’s

privacy by accessing personal, confidential messages exchanged via Ms. Galvez’s Facebook

messenger.

26.    That day, Mayor Brawner informed Ms. Galvez that she would have an opportunity to

respond to the allegations made against her on Friday, March 16, 2018.




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27.      At the March 16, 2018 meeting, the only person asking questions was Mayor Brawner,

who initially placed Ms. Galvez on administrative leave, and further hired Chief Wilson whom

Ms. Galvez had raised complaints about before she was placed on leave.

28.      Clearly, Mayor Brawner never intended to have an unbiased third-party investigate the

false allegations made against Ms. Galvez in which it was alleged Ms. Galvez had committed

timesheet fraud.

29.      Defendants knew those allegations were frivolous, and for nearly two months following

her suspension, Ms. Galvez heard nothing from the City of Katy or Mayor Brawner, all while being

on paid administrative leave.

30.      It was not until after this subsequent invasion of Ms. Galvez’s privacy, the intrusion on

seclusion, that Mayor Brawner finally contacted Ms. Galvez to schedule a meeting.

31.      This is not a situation where Ms. Galvez voluntarily gave Defendants access to her

Facebook Messenger account nor is this a situation where she logged into Facebook for personal

reasons and forgot to close her account leaving her exposed.

32.      Ms. Galvez was required, based on assigned job duties, to update the Facebook pages for

both the Fire Department and Office of Emergency Management.

33.      Per Facebook rules, in order to have administrative duties and access to update these pages

for the city, the accounts have to be linked to her personal page.

34.      Defendants revoked Ms. Galvez’s administrative duties when she placed on administrative

leave.

35.      However, unbeknownst to Ms. Galvez, and never having Ms. Galvez’s consent to do so,

Chief Wilson continued to monitor her personal account.




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36.       Defendants’ only objective, now that Chief Wilson had read Ms. Galvez’s personal,

confidential Facebook messages and shared them with Mayor Brawner, was to terminate Ms.

Galvez’s employment armed with this new, extremely personal and intimate information.

37.       Defendants’ motives in attaining this information was clear, as in Ms. Galvez’s termination

appeal, Defendants not only claimed that Ms. Galvez had violated instructions by communicating

with city employees about the non-existent investigation, but they deliberately included

unnecessary, highly personal messages in the termination appeal packet.

38.       Defendant selected messages that had nothing to do with the allegation made against Ms.

Galvez.

39.       Defendants’ actions in reading Ms. Galvez’s Facebook messenger messages, using them

as a basis for termination, and then including them in the termination appeal packet were malicious

and calculated to cause harm.

40.       In fact, it is clear that Defendants were seeking the most personal information and their

review of Ms. Galvez’s Facebook messenger messages was not just a cursory review, but an in-

dept study of her private life.

41.       In fact, one message that Defendants submitted during the termination appeal dated back

to 2013, which clearly indicates that Defendants did not merely come across these messages, but

instead, took deliberate actions in seeking them out.

42.       Defendants actions allowed them access to not only conversations Ms. Galvez had related

to her employment, but private conversations she had with family and friends, and conversations

about her personal relationships and health matters.

43.       Defendant, City of Katy, concedes that the Council “is the final policymaker for

employment policies.” (Doc. 5, Defendants’ Motion for Partial Judgment on the Pleadings, ¶10 at

pg. 6.)

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44.     Furthermore, Defendant, Mayor Charles A. “Chuck” Brawner, is an individual with final

policymaking authority where the City of Katy’s Articles state “the Mayor may prescribe such

general rules and regulations as he may deem necessary or expedient for the general conduct of

the Administrative Department, the heads of which are responsible to him.”

45.     All conditions precedent to the bringing of this lawsuit have been satisfied and fulfilled.

                                      VI.
                               CAUSE OF ACTION
                 INVASION OF PRIVACY – INTRUSION ON SECLUSION
                       AGAINST DEFENDANT CITY OF KATY

46.     Plaintiff brings this suit in her individual capacity.

47.     Defendant City of Katy intentionally intruded upon Plaintiff’s solitude, seclusion or private

affairs and concerns.

48.     Defendant’s invasion was actual, a nonphysical invasion, into Plaintiff’s solitude,

seclusion, or private affairs.

49.     Defendant’s intrusion would be highly offensive to a reasonable person and was

unwarranted, unjustified, and nonconsensual.

50.     Defendant’s intrusion resulted in Plaintiff being severely offended, humiliated, and

outraged.

51.     As a result of Defendant’s actions, Plaintiff suffered injury and damages, within the

jurisdictional limits of this Court, as a proximate cause of such the intrusion.

                                         VII.
                                 CAUSE OF ACTION
                  42 U.S.C. § 1983 - VIOLATION OF THE FOURTH
            AND FOURTEENTH AMENDMENTS AGAINSGT DEFENDANTS
                      CITY OF KATY AND RUSSELL WILSON

52.     Defendant Wilson intentionally and maliciously seized and searched Plaintiff’s electronic

communications located in her Facebook messenger account without just cause.



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53.    Defendant Brawner instructed, authorized, consented to, and observed Wilson’s unlawful

and malicious actions. On behalf of the City of Katy, it was Defendant Brawner’s personnel

policies and procedures that were the moving force behind this violation of Plaintiff’s rights.

54.    Furthermore, Defendant, Mayor Charles A. “Chuck” Brawner, is an individual with final

policymaking authority where the City of Katy’s Articles state “the Mayor may prescribe such

general rules and regulations as he may deem necessary or expedient for the general conduct of

the Administrative Department, the heads of which are responsible to him.”

55.    Defendants had no objectively reasonable basis to believe that Plaintiff’s electronic

communications contained materials related to her employment.

56.    Defendants took intentional and deliberate steps to access Plaintiff’s electronic

communications.

57.    Plaintiff did not consent to Defendants’ seizure and search of her electronic

communications.

58.    At all times relevant hereto, Plaintiff had a right clearly established under the Fourth

Amendment to the United States Constitution and enforceable through the Due Process Clause of

the Fourteenth Amendment to be free from unreasonable searches and seizures.

59.    Plaintiff suffered damages, including economic and non-economic injuries as a

consequence of these violations.

                                     VIII.
                             CAUSE OF ACTION
              18 U.S.C. § 2707 – VIOLATIONS OF THE STORED
        COMMUNICATIONS ACT AGAINST DEFENDANT RUSSELL WILSON

60.    At all relevant times, the Stored Communication Act (18 U.S.C. § 2701 et. seq.) was in full

force and effect and governed the accessing of facilities through which electronic communication

service is provided.

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61.     Defendant Wilson knowingly, intentionally, and willfully accessed Plaintiff’s Facebook

messenger messages without authorization and obtained electronic communication that were then

being electronically stored therein.

62.     Defendant in liable for the actions taken in accesses Plaintiff’s stored communications,

violating a right that was ‘clearly established’ at the time of the challenged conduct.”

63.     Plaintiff did not consent to Defendant’s accessing of her stored communications.

64.     Defendant’s actions violate 18 U.S.C. § 2701 and give rise to a claim under 18 U.S.C. §

2707.

65.     Plaintiff suffered damages, including economic and non-economic injuries as a

consequence of these violations.

                                             IX.
                                        JURY DEMAND

66.     Plaintiff demands trial by jury and has tendered the appropriate fee.

                                              X.
                                           DAMAGES

67.     Plaintiff seeks all damages allowed under the Texas and Federal law, including:

           a) Plaintiff seeks all actual damages as may be appropriate such as back pay, front

               pay, loss of earning capacity, and value of retirement benefits.

           b) Plaintiff seeks compensatory damages for future pecuniary losses, emotional pain,

               suffering, inconvenience, mental anguish, loss of enjoyment of life, and other

               nonpecuniary loses.

           c) Plaintiff seeks exemplary or punitive damages.

           d) Plaintiff seeks additional equitable relief as may be appropriate such as

               reinstatement, promotion, and injunctive relief to protect against Defendants harm.

           e) Plaintiff seeks pre and post judgment interest at the maximum rate allowed by law.

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            f) Plaintiff seeks costs including court costs and reasonable expert fees.

            g) Plaintiff seeks reasonable attorneys’ fees.

        WHEREFORE, premises considered, Plaintiff respectfully prays that Defendants be cited

to appear and, that upon a trial on the merits, that all relief requested be awarded to Plaintiff, and

for such other and further relief to which Plaintiff is justly entitled.



                                                Respectfully submitted,
                                                ROB WILEY, P.C.

                                                /s/ Kalandra N. Wheeler
                                                _______________________________
                                                Kalandra N. Wheeler*
                                                Texas Bar No. 24051512
                                                Robert J. Wiley*
                                                Texas Bar No. 24013750
                                                *Board Certified Specialist, Texas Board of Legal
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                                                Facsimile: (713) 337-1334
                                                kwheeler@robwiley.com

                                                ATTORNEYS FOR PLAINTIFF



                                  CERTIFICATE OF SERVICE

       I hereby certify that on the 11th day of March, 2019, I served a copy of the foregoing on
counsel for Defendants via the Court’s CM/ECF system.

        Ramón G. Viada III
        Stefanie S. Strayer
        17 Swallow Tail Court
        The Woodlands, Texas 77381
        Email: rayviada@viadastrayer.com


                                                /s/ Kalandra N. Wheeler
                                                ___________________________________
                                                Kalandra N. Wheeler
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